Case 2:18-mj-01674-DUTY Document 3 Filed 07/11/18 Page 1 of 2 Page |D #:84

AO 93 (Rev1 12/09) Search and Scizure Warrant (USAO CDCA Rev, 0l/2()l3) § § § G a MSL

UNITED STATES DISTRICT COURT

for the
Central District of Calil`ornia

In the Matter of the Search of

(B)'iefly describe the property 10 be searched
or identify the person by name and add)'ess)

)

)

) CaseNO, 2:18-MJ-1674
Four digital devices selzed, and currently in the custody of )

>

)

the Federal Bureau of lnvestigatlons in Ventura, Caliiornia

SEARCH AND SEIZURE WARRANT
To: Any authorized law enforcement officer

An application by a federal law enforcement officer or an attorney for the government requests the search

 

of the following person or property located in the Centra| District of Califomia
(identl'jlj/ the person or describe the properly lo be searched and give ils location)i
See Attachment A

The person or property to be searched, described above, is believed to conceal (idenn]y me person or describe the
property 10 be seisecz’):
See Attachment B

l find that the aft`rdavit(s), or any recorded testimony, establish probable cause to search and seize the person or
property

YOU ARE COMMANDED to execute this warrant on or before 14 days from the date of its issuance
(not !0 exceed /-'/ days)
Ef in the daytime 6:00 a.m. to l0 p.m. 13 at any time in the day or night as l find reasonable cause has been
established

 

Unless delayed notice is authorized below, you must give a copy of the warrant and a receipt for the property
taken to the person from whom, or from whose premises, the property was taken, or leave the copy and receipt at the
place where the property was taken.

The ofiice1 executing this \vartant, 01 an ofticel p1esent dining the execution of the warrant must ptepate an
inventory as requhed by law and p1omptly 1et1un this wauant and inventoiy to United States Magisttate Judge

on duty at the time of the return through a fling with the C|erk‘s Office
(na)ne)

l:l l find that immediate notification may have an adverse result listed in 18 U. S C § 2705 (except for delay
of txial), and authorize the office\ executing this wanant to delay notice to the pe1son who, or whose property, will be
SC&!‘Ch€d 01 S€lZ€d (c/ieclc the app)o/))iclle boxj ij for _W__‘ _d'dys (110110 erceed 30).

13 until the facts justifying the la er specific date of

Dt dr d l,i/ Z,KZD) /5/ h
dean imc issue \/‘M_ 1~__L/@79_ ages 11a/me

City and state: Santa Barbara, California l-lon. Louise A, Lal\/lotl'\el U.S, lVlagistrate Judge
Prinled name and II‘IIe

 

AUSA: [Seott l_ara x0427]

 

Case 2:18-mj-01674-DUTY Document 3 Filed 07/11/18 Page 2 of 2 Page |D #:85

AO 93 (Rev. 12/09) Searclz and Set`:urc li"arrant (Page 2)

 

Return

 

Case No.: Dare and time warrant execztted.' Copy ofwat'rctnt and inventory left with.'

/Y“/"“"j"/é"?>‘ fy///,/lé’ J’:¢)=) Q;~/ /V//)’

 

 

 

[nventotjv made in the presence of:

 

I)tverttory ofthe property taken and name of atty person(s') seized:
[Please provide n description that would be sufficient to demonstrate that the items seized fall within the items authorized to be
seized pursuant to the warrant (e.g., type ofdoouments, as opposed to “miscellaneous documents”) as well as the approximate

volume of any documents seized (e.g., number of boxes). If reference is made to an attached description of property, specify the
number of pages to the attachment and any case number appearing thereon.]

SMS messages regarding guns

SMS messages regarding the use and purchase of illegal drugs.
Photographs of suspected drugs.

SN|S messages indicating Angel Esparza was using the phones.
Se|fie photographs of Angel Esparza.

Phone contacts

 

 

Certification (by officer present during the execution of the waiTant)

 

1 declare under penalty of perjury that 1 am an ojj?cer who executed this warrant and that this inventory is correct and
was returned along with the original warrant to the designated judge through ajt`lz')zg with the Ct’erk's Oy§‘tce,

ma ”>;//;n» "“Z,~J¢: 5 V/.Z;

E.\'eeuting officer `s signature

)»'\-//l//»;\-»., /j diggch '/`g/§ /;'"/_r",\"

Prt‘nted name and title

 

 

 

AUSA: [Scott Lara X0427]

